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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :       CRIMINAL CASE
                                         :       NO. 3:04-cr-60 (JCH)
             v.                          :
                                         :
DEAN SIMS,                               :       DECEMBER 28, 2011
     Defendant.                          :

      RULING RE: DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE
             PURSUANT TO 18 U.S.C. § 3582(c)(2) (DOC. NO. 790)

      On November 28, 2011, the defendant, Dean Sims, filed a pro se Motion for

Reduction of Sentence, seeking a reduction in the sentence originally imposed on June

15, 2005. See Doc. No. 790.

      On December 20, 2004, Sims pled guilty to conspiring to possess with the intent

to distribute 50 grams or more of cocaine base, in violation of 21 U.S.C. §§ 846 and

841(a)(1), (b)(1)(A). Plea Agreement (Doc. No. 280) at 1. On June 15, 2005, this court

sentenced Sims to 120 months imprisonment, the mandatory minimum term of

imprisonment for the offense. Judgment (Doc. No. 452) at 1. The court also imposed

five years of supervised release, the mandatory minimum term of supervised release for

the offense. Id.

      Sims argues that he “is entitled to a reduction of sentence pursuant to [18 U.S.C.

§ 3582(c)(2)] based upon the retroactive application of the Fair Sentencing Act of 2010.”

Mot. for Reduction of Sentence at 3. It is true that “the United States Sentencing

Commission amended the sentencing guidelines in light of the [Fair Sentencing Act],

and in June 2011 voted to give retroactive effect to the amendment.” United States v.

Midyett, No. 10-cr-2478, 2011 WL 5903672, at *2 n.2 (2d Cir. Nov. 28, 2011). While the

amended guidelines are retroactive, however, the Fair Sentencing Act itself is not. Id.

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Thus, the amended guidelines “cannot benefit a defendant . . . who received the

mandatory minimum term of imprisonment applicable at the time he was sentenced.”

Id. Because Sims received the mandatory minimum term of imprisonment applicable at

the time of his sentencing, he is not eligible for a reduced sentence.

       Sims also requests a reduction in the term of his supervised release. First, the

court notes that the language of section 3582(c)(2) only authorizes a court to reduce a

defendant’s term of imprisonment, not his term of supervised release. See 18 U.S.C. §

3582(c)(2). Even if reduction of a defendant’s term of supervised release were

contemplated by section 3582(c)(2), Sims would not be eligible, as he was sentenced to

the mandatory minimum term of supervised release applicable at the time of his

sentencing.

       For the foregoing reasons, the Motion for Reduction of Sentence (Doc. No. 790)

is denied.

SO ORDERED.

       Dated at Bridgeport, Connecticut this 28th day of December, 2011.



                                            /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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